
BARNEY, Chief Judge.
William Elmore, (“Movant”) appeals from the judgment of the Circuit Court of Pulaski County which denied, after a hearing, his post-conviction relief motion filed pursuant to Rule 24.035, Missouri Court Rules (2001). In his motion, Movant sought to vacate and set aside a previously imposed judgment and sentence' of the circuit court. In the underlying criminal case, Movant pleaded guilty to the class B felony of attempt to manufacture a controlled substance, § 195.211, RSMo 2000 and was sentenced as a prior and persistent offender to fifteen years in the Missouri Department of Corrections. In his sole point on appeal, Movant argues that the motion court erred in denying his Rule 24.035 motion for relief because his “plea was not knowingly and voluntarily entered,” in derogation of his constitutional rights. He maintains that “the effects of [Movant’s] medications and drug use rendered him incapable of knowingly and voluntarily entering a plea of guilty.” We affirm.
“ ‘Appellate review of a denial of a Rule 24.035 motion for post-conviction relief is limited to a determination of whether the motion court’s findings of fact and conclusions of law are clearly erroneous.’ ” Henderson v. State, 32 S.W.3d 769, 770 (Mo.App.2000) (quoting Jenkins v. State, 9 S.W.3d 705, 707 (Mo.App.1999)). We will only find the motion court’s ruling clearly erroneous if upon review of the entire record, we are firmly convinced that a mistake has been made. Id. “The motion court’s findings of fact and conclusions of law are presumed correct.” Cross v. State, 928 S.W.2d 418, 419 (Mo.App.1996).
“[A] plea of guilty must not only be a voluntary expression of the defendant’s choice, it must be a knowing and intelligent act done with sufficient awareness of the relevant circumstances and likely consequences of the act.” State v. Hunter, 840 S.W.2d 850, 861 (Mo. banc 1992); Brady v. United States, 397 U.S. 742, 748, 90 S.Ct. 1463, 1469, 25 L.Ed.2d 747 (1970).
Movant claims that when he entered his guilty plea he was under the influence of medication and illegal drugs which “rendered him incapable of knowingly and voluntarily entering a plea of guilty.” Movant was the sole witness at his post-conviction relief hearing. He testified that he had used methamphetamine and cocaine a day or two prior to the day he entered his guilty plea and that he took medication for blood pressure. He testi*426fied that he did not remember what took place during his guilty plea and did not understand what was going on at the hearing. We do not find merit in Movant’s argument.
“The mere ingestion of drugs is insufficient to render a person incapable of pleading guilty.” Cross, 928 S.W.2d at 419. “This is true even when dealing with recent ingestion of drugs or drug addiction.” Id. “The ingestion of drugs will only invalidate a guilty plea where the ability of the defendant to understand the proceedings and give free assent is impaired.” Id.; Green v. State, 792 S.W.2d 15, 17 (Mo.App.1990).
Review of the transcript from Movant’s guilty plea proceedings and Movant’s responses to questions from the plea court, his plea attorney and the prosecutor demonstrate that Movant clearly understood what was taking place. When asked by the plea court if he understood all of his rights, Movant responded that he did. When asked by the plea court why he was pleading guilty, Movant responded, “I’m guilty.” He testified that the “stuff at the house is mine.” He testified that authorities “found some iodine [and] trichlore-phine” in his possession. In response to the question, “[s]o you possessed this material with the purpose of using it to manufacture methamphetamine?”, Movant responded, “That was the plan.” He also testified that he was going to “[t]each people how to cook meth.” He further acknowledged that he was in the “process of breaking down pseudoephedrine pills.... ” Indeed, Movant gave clear, detailed, and lucid answers to approximately 150 questions posed to him as evidenced in 23 pages of the plea transcript. In some instances he corrected his plea counsel and the plea court. In one instance he indicated to the plea court that he did not understand the range of punishment for his offense and the matter was made more definite. Further, during these plea proceedings Movant informed the plea court that the last time he had taken illegal drugs, namely cocaine and methamphetamine, was the Wednesday before the plea hearing which was held the following Monday. Movant also freely explained to the plea court that he was on prescriptions for blood pressure and cocaine withdrawal.
In its judgment, the motion court stated:
[T]his Court finds Movant voluntarily, knowingly, and intelligently entered his plea of guilty on October 18,1999. Mov-ant was lucid, he appropriately answered the questions of counsel and the Court, and there was no evidence that his ingestion of methamphetamine and cocaine five days prior to hearing, or his taking of medications prescribed to him for blood pressure and cocaine addiction affected his ability to know and understand the proceedings at which he was participating.1
The motion court is not bound to take Movant’s motion court testimony as true and we must defer to motion court’s ability to judge the credibility of Movant. See Henderson, 32 S.W.3d at 770. “The motion court is free to disbelieve testimony even when no contrary evidence is presented.” Cross, 928 S.W.2d at 419. Mov-ant has not demonstrated that the motion court committed error in denying his post-conviction motion to vacate or set aside the judgment and sentence on the basis that his guilty plea was not knowingly and voluntarily entered. Point denied.
The judgment is affirmed,
*427SHRUM, P.J., concurs.
MONTGOMERY, J., concurs.

. We note that the motion court judge was the same judge who accepted Movant's guilty plea on October 18, 1999.

